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1    DANIEL J. BRODERICK, #89424
     Federal Defender
2    MELODY M. WALCOTT, Bar #219930
     Assistant Federal Defender
3    Designated Counsel for Service
     2300 Tulare Street, Suite 330
4    Fresno, California 93721-2226
     Telephone: (559) 487-5561
5
6    Attorney for Defendant
     LARRY DONNELL JONES
7
8                                IN THE UNITED STATES DISTRICT COURT
9                              FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,             )            NO. 1:07-cr-00272 LJO
                                           )
12                     Plaintiff,          )            STIPULATION PERMITTING DEFENDANT
                                           )            TO TRAVEL TO SAN FRANCISCO; AND ]
13         v.                              )            ORDER
                                           )
14   LARRY DONNELL JONES,                  )
                                           )
15                     Defendants.         )            Judge: Hon. Sandra M. Snyder
                                           )
16   _____________________________________ )
17
18          IT IS HEREBY STIPULATED by and between the parties, through their respective counsel, that
19   Larry Donnell Jones be permitted to travel to San Francisco, California from Anchorage, Alaska on May
20   17, 2008, and return to Anchorage, Alaska, on May 22, 2008. Mr. Jones will reside at the Westin San
21   Francisco Market Street, 50 Third Street, San Francisco (415) 974-6400. Mr. Jones is permitted to travel
22   ///
23   ///
24   ///
25   ///
26   ///
27   ///
28   ///
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1    to attend an employment-related seminar. Pre-Trial Services in this District has no objection to the
2    proposed travel. All other conditions of release are in full force and effect.
3
4                                                                    McGREGOR W. SCOTT
                                                                     United States Attorney
5
6    DATED: May 14, 2008                                      By:     /s/ Stanley A. Boone
                                                                     STANLEY A. BOONE
7                                                                    Assistant United States Attorney
                                                                     Attorney for Plaintiff
8
9
                                                                     DANIEL J. BRODERICK
10                                                                   Federal Defender
11   DATED: May 14, 2008                                      By:     /s/ Melody M. Walcott
                                                                     MELODY M. WALCOTT for Robert
12                                                                   Rainwater
                                                                     Assistant Federal Defender
13                                                                   Attorneys for Defendant
14
15
                                                        ORDER
16
              Larry Donnell Jones is hereby permitted to travel from his residence in Anchorage, Alaska on
17
     May 17, 2008, for an employment related seminar, and to return to Anchorage, Alaska, on May 22, 2008.
18
     All other conditions of release are in full force and effect.
19
     IT IS SO ORDERED.
20
     Dated:     May 15, 2008                            /s/ Sandra M. Snyder
21   icido3                                      UNITED STATES MAGISTRATE JUDGE
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